
350 Ill. App. 328 (1953)
112 N.E.2d 736
In the Matter of Conservatorship of Doyle Farlin.
Elizabeth M. Farlin, Petitioner-Appellee,
v.
Doyle Farlin, Respondent-Appellant.
Gen. No. 9,891.
Illinois Appellate Court.
Opinion filed June 1, 1953.
Released for publication June 17, 1953.
Middleton &amp; Middleton, and Claude M. Swanson, for appellant.
Raymond H. Imig, for appellee.
(Abstract of Decision.)
Opinion by JUSTICE REYNOLDS.
Reversed and remanded.
Not to be published in full.
